Case 1:21-cr-00399-RDM Document 160-1 Filed 08/10/23 Page 1 of 13




                      Exhibit A
Subject: Mike Hassard
                    Case 1:21-cr-00399-RDM Document 160-1 Filed 08/10/23 Page 2 of 13 File No.: 00000000
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 URL                    https://twitter.com/mikehassard

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                                                                                                                                    Thomas Fahre r O
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                           0 Joined February 2009
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                                    Mike Hassard @ niikehassard · May 14
                                   Roman St erlingov is wrongf ully accused of operating Bit coin Fog, a
                                   -#Bi t coln .J mix ing service. This is the first in a series of t hreads I will post
                                   in an effort t o spread word of t his unj ust prosecut ion.                                Trends are unavailable.

                                   Q    46     t"l    185   C) 387      1[,I   158K    .!,

                                   Mike Hassard @ mikehassard · Feb 8
                                   Brampton's own Sunll Tulsiani, @TheWealthyCop, get s absolutely                         Terms of Service    Privacy Policy   Cookre Policy
                                   ROASTED by Edward Snowden, @Snowden, as Sunil att empts ta solicit                      Accessibility   Ads fnfo   More•··   ©: 2023 X Corp.
                                   more vict ims for his #Toronto -based "private Invest ment club" I/Ponzi
                                   scheme.

                                   (The end is hilarious.)

                                                                 The media could not be played.



                                                                           ♦ii¥♦




                                   Q    22     t."l   115   C)    323   ,l,1   86.3K   .!,

                                   Mike Hassard @ mlkehassard · Feb 25, 2022
                                   The #ghos t ofkyiv is t he best story I have seen today.

                                   "A lone Ukrainian pilot has ·confirmed 6 aerial t ake downs in a single day.
                                   They're calling him the 'Ghost of Kyiv' "

                                                                 The media could not be played.



                                                                           ♦ii¥♦



                                                                                                 Page 1
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                F OE R ST E R                                                                                                                                                     23
               Case 1:21-cr-00399-RDM Document 160-1 Filed 08/10/23 Page 3 of 13

                        o     2   n 32 o 135 i1o1 .!.
                        Mike Hassard @ mikehassard · May 14
                        Replying to '°' mikehassard
                        Next week I'll post a thread about Chainalysls Inc., and t heir involvement in
                        t his case. I'll discuss how t he government relies on unproven, h eurist ic
                        analysis from Chai nalysis, and how their black- box blockchain surveillance
                        techniques do not meet scient ific fo rensic st andards.

                        Q     5   t.'l   34   Q   128          ii,I    7.BaG     .!,

                        Mike Hassard @ mikehassard · May 14
                        Replying o @ mikehassard
                        Please consider donating to Roman's legal defense funds:
                        torekeland.com/roman-sterllng...

                        Please spread word of t his unjust prosecution.

                        #FreeRoman




                            torekeland.com
                            #freeroman - U.S. v. Roman Sterlingov
                            Read about U.S. v. Roman Sterllngov. The Government nabbed the
                            wrong man through shoddy and speculative "blockchain analysis." ...


                        o 3 n 21 o s4 ,l,1 22.9K ,1,
                        Mike Hassard @ mikehassard · May 14
                        Replying to @ mikehassard
                        I had t he pleasure of attending some #Bitcoln ,I meetups in Europe last
                        month. We spoke in Zurich, Munich, Berlin and Stuttgart. I understand why
                        Roman was at t racted t o t hese meetups. They w ere fun , social, and filled
                        with lovely people who have optimistic visions lorth e future.

                        O s       n 5 o 46              ,l,1          J.202    .!.

                        Mike Hassard @ mlkehassard · May 14
                        Replying o @ mlkehassard
                        Roman is transferred to the Northern Neck Regional Jail in Warsaw, Vi rginia
                        where he remai ns t o this day. Trapped in a Kafkaesque nightmare in a place
                        he's never set foot In.

                        o , n 2 o 42 11,1 2,Jo1 .!.
                        Mike Hassard @ mikehassard · Jun 7. 2022
                        80% of Americans can no longer see t he Milky Way due to light pollution.
                        So here is a phot o of our galaxy captured in Dinosaur National Park, Utah.




                        0         n 10 o 36 11,1 .!.
                        Mike Hassard @ mlkehassard · May 14
                        Replying to @ mlkehassard
                        In 2003, Roman moves from Russia to Jonkoping with his mother. At
                        school he excels in math and science and loves learning about technology.
                        In 2010, he first hears about bitcoin. He Is excited by t his new t echnology
                        and learns h ow to set up wallets & funds them with his paycheck.

                        0     3   t.'l 3      0   39    11,1          3,462    .!.

                        Mike Hassard @mikehassard · May 14
                        Replying to @mikehassard
                        In search of a career and a stab le income, Roman enrolls in a commercial
                                                                                       Page 2
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                           pilot llcensingclass in California. In April 2021 , he f lies to LAX where he is
               Case 1:21-cr-00399-RDM                     Document
                      arrested by the FBI and accused ofoperat                   160-1
                                                               ing Bit coin Fog for              Filed 08/10/23 Page 4 of 13
                                                                                    t he past seven
                           years.

                           o   1    n 3 o 36 11,1 2 ,375 .!.
                           Mike Hassard @mikehassard · May 14
                           Replying to @mikehassard
                           Roman learns t hat when he makes Bit coin t ransactions, his wallet address
                           becomes public. He worries that someone cou ld target him and st eal his
                           funds. From this point on, Roman incorporates mixing into his personal
                           privacy practices when tran sferring #Bitcoin $ .

                           0   2    t.1. 5 0     38   11,1   2,620   .!.

                           Mike Hassard @mikehassard · May 14
                           Replyingto @mikehassard
                           Confused and shocked, Roman Is stunned to hear t hat he is accused of
                           creating and operating Bitcoin Fog. He gets locked up in California where a
                           Magist rate j udge Issues an order for him to be "detained indefinitely ".

                           0   1    0   A   O 36      11,1   2,452   .!,

                           Mike Hassard @mikehassard · May 14
                           Replying to @mikehassa1d
                           The government has seized all of Roman's remaining assets, and t he Court
                           will not rel ease them to f und his def ense.

                           o 1 n 5 o 36 11,1 2.334 .!.
                           Mike Hassard @mikehassard · May 14
                           Replying to @mikehassard
                           At one of t hese meetups, someone tells Roman he should mix his Bit coin
                           before selling it to people he doesn't know. At t his t ime there is no Bitcoin
                           market place - like Kraken or Coin base - all transaction are done peer-t o-
                           peer and require a level of t rust.

                           o   3    n 3 o 33          11.i   2,754   .!.

                           Mike Hassard @mikehassard · May 14
                           Today @TorEkelandPLLC and I shot a podcast for ll!•WhatBitcoinDid with
                           @PeterMcCormack and @ .DannyKnowles about Roman's case.

                           The #Bltcoin ,ll community has been AMAZING in supporting Roman.
                           Together we can get an innocent person out of pris on.




                           o s n 7 o 3" 11,1 4.327 .!.




                                                                                 Page 3
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                                        Mike Hassard
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                                 We are in the final fundraising push for Roman's trial. It starts Sept. 14th
                                 and we need to raise money for tra vel and lodging expenses in DC for our         9 Sign up w it h A pple
                                 incredible team of Experts.

                                                                                                                   Create account
                                 Please consider donating t o Roman's defense fund through @geyserfund
                                                                                                                By signing up. you agree to the Terms of Ser'Jlce and
                                 IIFreeRoman                                                                    Pttvacy Polley. tncludlng Cook.le Use.


                                   (i) Geyse r jC, 0 @geyserfund · 6h
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                                   Community: @mikehassard, @caf e_sat osh i, @geyserfund                                Nat ure I Hockey I M "


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                            coin desk.com                                                                                    Leviathan News O             •••••
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                            Renowned lawyer Tor Ekeland is poking holes in the U.S. government's case                         24-Hour Headline News Telegram:
                            against alleged Bitcoin Fog creat or Roman Sterllngov by poking holes In ...                     t .me/leviathan. news YouTube:
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                          chain forensic tools even work.

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                            Renown ed lawyer Tor Ekeland is poking holes in the U.S. government's case                       Deput y managing edit or for
                            against alleged Bitcoin Fog creat or Roman Sterllngov by poking holes In ...                     opinions/feat ures and writer
                                                                                                                             (roCoinDesk's Consensus Magazine. If
                                                                                                                             you want t o writ e, reach out.
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                                                                                                                             daniel@c oindesk.com

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                 0        innocent and these rats puts him in jail without proving his innocence." -         ti Sign up with Appl e
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                            Replyingto @Gelois_O and @BtcAndres                                           By signing up. you agree to the Terms of Service and
                            No puede ser quevenga de Roman Sterllngov. alguien que es lnocentes yest as   Pr fvacy Policy. Including Cookle Use.
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                          Fog creator. Cha ina lysis' investigative lead faces scrutiny, as privacy
                          advocate LOia L33tz enlight ens us. This is a game - changer for dig...       Create account

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                          case aga inst alleged Bitcoin Fog creator Roman Sterlingov by
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                          junk science."

                          .@TorEkelandPLLC and @mikehassard will go down in history when                                 Create account
                          Roman Sterlingov is released from prison.
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                          This junk science "forens ic s" is a plague

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                                                                                                                                Researcher
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                            coin desk.com                                                                                       Comp Sci - Digital Espion age
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